       Case 3:19-cv-00213-SI   Document 17    Filed 02/10/20   Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON


PETER SZANTO,                                Case No. 3:18-cv-939-SI LEAD

            Appellant,                       ORDER
      v.

JP MORGAN CHASE BANK, NA, et al.,

            Appellees.
_______________________________________

STEPHEN P. ARNOT,                            Case No. 3:18-cv-1841-SI

            Plaintiff,                       ORDER
      v.

YANKEE TRUST CORPORATION,

            Defendant.
_______________________________________

SUSAN SZANTO                                 Case No. 3:19-cv-0213-SI

            Appellant,                       ORDER
      v.

STEPHEN P. ARNOT, et al.,

            Appellees.
_______________________________________

PETER SZANTO,                                Case No. 3:19-cv-1089-SI

            Appellant,                       ORDER
      v.

EVYE SZANTO, et al.,

            Appellees.

PAGE 1 – AMENDED ORDER
          Case 3:19-cv-00213-SI         Document 17       Filed 02/10/20     Page 2 of 3




 _______________________________________

 PETER SZANTO,                                           Case No. 3:19-cv-2043-SI

                Appellant,                               ORDER
        v.

 EVYE SZANTO, et al.,

                Appellees.

Michael H. Simon, District Judge.

       Peter Szanto (“Mr. Szanto”) and Susan Szanto (“Ms. Santo”), proceeding pro se, have

filed challenges to various opinions and orders issued by the Bankruptcy Court. The undersigned

District Judge had stayed certain cases while Mr. Szanto focused on his challenge to the

Bankruptcy Court’s order converting his bankruptcy from Chapter 11 to Chapter 7, and his

request that this Court withdraw the reference to the Bankruptcy Court. I have resolved those

challenges, lifted the stays in the cases involving the Szantos’ other appeals of the Bankruptcy

Court’s decisions, and requested that the parties propose deadlines for the briefing in those cases.

       The Court recognizes that Mr. Szanto is proceeding pro se and simultaneously litigating

several cases. The interest of finality and judicial efficiency, however, require that the Court

allow these cases to proceed in as expeditious a manner as possible. Thus, although the Court is

accommodating Mr. Szanto as much as possible to allow him sufficient time for briefing the

multiple cases he has chosen to file, the Court also must consider the effect of a lengthy case

schedule on all parties. Mr. Szanto also expressed some preference for the order in which the

cases should be litigated, and the Court has tried to accommodate Mr. Szanto’s preference.

Accordingly, the Court sets the following case schedules, considering the pending cases

involving Mr. Szanto, and the one case brought by Ms. Szanto:




PAGE 2 – AMENDED ORDER
          Case 3:19-cv-00213-SI        Document 17      Filed 02/10/20     Page 3 of 3




       18-939:        All Consolidated Cases (the Court prefers Mr. Szanto file a single brief if
                      possible, although he may file separate briefs if necessary, and he also
                      may incorporate by reference the opening brief he already filed relating to
                      his challenge involving Bank of America)
                      Mr. Szanto’s opening:                 April 3, 2020
                      Appellees’ responses:                 May 4, 2020
                      Mr. Szanto’s reply:                   June 8, 2020

       19-213:        Susan Szanto v. Arnot (not consolidated)
                      Ms. Szanto’s opening:                July 1, 2020
                      Appellee’s response:                 July 31, 2020
                      Ms. Szanto’s reply:                  August 31, 2020

       18-1841:       Arnot v. Yankee Trust Corp. (not consolidated)
                      Mr. Szanto’s opening:               July 13, 2020
                      Appellee’s response:                August 10, 2020
                      Mr. Szanto’s reply:                 September 14, 2020

       19-1089:       Szanto v. Szanto, et al. (not consolidated)
                      Mr. Szanto’s opening:                  October 5, 2020
                      Appellees’ responses:                  November 6, 2020
                      Mr. Szanto’s reply:                    December 4, 2020

       19-2043:       Szanto v. Szanto, et al. (not consolidated)
                      Mr. Szanto’s opening:                  November 2, 2020
                      Appellees’ response:                   November 30, 2020
                      Mr. Szanto’s reply:                    December 31, 2020

       The deadlines for filing briefs in the appeals of the opinions and orders of the Bankruptcy

Court filed by Mr. Szanto and Ms. Szanto are scheduled as set forth above. Any further

extensions of this schedule will be disfavored.

       IT IS SO ORDERED.

       DATED this 10th day of February, 2020.

                                                    /s/ Michael H. Simon
                                                    Michael H. Simon
                                                    United States District Judge




PAGE 3 – AMENDED ORDER
